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                                                                                             19-cr-40091-DDC-01
Sarah Moser Hawks, Ed.D.

April 2, 2020

To The Honorable Daniel D. Crabtree
District Court Judge
District of Kansas

Regarding Jarrett W. Smith

Dear Honorable Judge Crabtree:

    If one would ask, how do you know Jarrett William Smith? My first answer would be that I
have known him all his life. I met his mother, Becca, when I was about two years old and she
was about seven. My dad, an electrician, had taken my mom and me to see a new house he had
wired and meet the family. Becca’s family and my family soon became the best of friends. After
the unexpected death of Becca’s mother, our two families became blended and we grew up
together. Becca states, “Family isn't always blood”. I consider her my sister. Jarrett calls me his
“Aunt Sarah”.

   The anticipation of Jarrett William Smith entering this world was my first of many memories
of him. Receiving the news that Becca was expecting made my heart skip several beats. After
months of waiting, he finally arrived on September 18, 1995. We wanted to give them space to
adjust as a family, but to me, the excitement of waiting to see him for the first time, rather than in
pictures, seemed too long. His baby picture had been on my teacher’s desk at a public school
where I taught, as a daily reminder of how much I was looking forward to summer.

   Finally, in June 1996, my parents and my husband and I were able to make the trip to meet
Jarrett for the first time. Seeing him for the first time in his mother’s arms was so exciting, with
his smiling face looking back at me with that big grin and lots of giggles. We did not get to stay
long, as the next day we had to head down to Nova Southeastern University for my first summer
doctoral program. Our family time was more joyous as everyone talked about how cute Jarrett
was and how we could not wait to see him again. On the way back home, we stopped to see him
again!

   In June 1997, my parents, husband, and I made the exact same trip. By this time, at nearly two
years old, Jarrett was walking and trying to talk. I enjoyed sitting on the floor with him
surrounded by his toys. Jarrett and I played while the others talked. His giggles and laughter
were relaxing during my stressful time in college. Throughout the year, I would call his mother
and talk to him over the phone just to hear him giggle and laugh.

    In June 1998, when he was almost three, we were able to spend an entire week with him. By
this point, he’d developed a great personality. Jarrett was happy and loving with a good calm,
even temperament. He remembered how we’d played on the floor the year before, so we did it
again. Sometimes the others would join in. What I found unique about him was that he put his
toys away when he was finished. Jarrett was respectful to his parents. They only had to say
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something to him once and he listened to their requests.

   His parents had set up an answering machine in their home with Jarrett’s voice at end of the
greeting. When I called, it was nice to be able to get the answering machine, just to hear him say
his name. I still hear him in the back of my mind today saying “Jarr’ ett”.

   In June 1999, the trip to see Jarrett and his family was exciting because he could hold
conversations like an adult, at nearly 4 years of age. During this visit Jarrett talked about
protecting us (his family). He admired his dad. I could tell by Jarrett’s actions and expressions.
His dad would hold the door open for Jarrett’s mother and Jarrett was right there by the door
helping hold it open too! It was plain to see Jarrett’s admiration for his parents, and they were his
world. Jarrett’s personality had really developed into a generous, respectful, well-mannered,
obedient, child.

    In summer of 2000, we were not able to make the trip to see Jarrett, due to my mom’s battle
with cancer. But Jarrett’s mother surprised us by announcing that she was expecting a baby girl
in February 2001. By September 2000, Jarrett and his mother came to visit my mom in the
hospital, on his 5th birthday. Jarrett was so excited to see my mom and he brought a breath of
fresh air into the room with a ray of sunshine. His empathy for my mom was strong that day. He
could not wait to tell my mom about his new baby sister coming, and he talked about his plans to
help and teach the baby. He had a kind heart and willingness to share everything with us
throughout that day. Just as his family arrived back home in SC on Thursday evening, mom
passed away early that Friday morning. Jarrett and his family came back to NC that weekend to
attend mom’s funeral. Having him there was a warm welcome to us during this dark time. His
joyous personality lit up every room. Family members made comments about how mature Jarrett
acted for his age. One person stated that Jarrett reminded them of an adult in a child’s
body. Jarrett’s intelligence allowed him to learn information, like water absorbing into a sponge.
Jarrett loved to observe other people and learn from them.

    Thanksgiving 2002, Jarrett and his family drove up to NC to see us. He could not wait to
introduce his baby sister to all of us. You could tell just how loving and protective of her that he
was. Jarrett was compassionate, caring and cooperative to his sister’s needs. He was skillful
when trying to calm her and be reassuring to her. Jarrett was also encouraging, polite,
understanding and willing to listen to my Dad tell all his wacky stories.

    During the December 2002 holiday break, my husband and I made the trip to visit Jarrett, his
sister, and parents. Jarrett was excited to show me some of his work from school. It was easy to
see his talent and intelligence through his schoolwork examples. His teacher’s comments on his
work provided feedback as to the trustworthy, respectful, responsible, and caring type of person
he was at school.

    In July 2004, my husband and I traveled down to SC to see Jarrett, his sister, and his mom
and dad. Throughout our visit, I noticed how reliable Jarrett was at doing tasks, and how calm,
flexible, creative and attentive he was to his sister’s needs. Jarrett had a generous spirit toward
others around him. In public, his manners and politeness stood out and impressed me as I
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observed him holding doors open for people, expressions of gratitude toward others, and most of
all, his consideration of others.

    Holiday break 2006, my husband and I traveled down to see the family again. Jarrett created
a fun-loving foundation for the holiday season with his joyful spirit and was excited to show me
his work from school. According to the comments I read from his teacher, I could tell Jarrett was
skillful and brilliant with his schoolwork. He still loved for me to sit on the floor and play games,
work models, and show me his figurines. With Jarrett’s caring nature, he invited his sister to sit
with us, take turns and shared all his things with all of us. During this playtime, Jarrett
demonstrated his good character traits through his actions and behaviors.

    In 2008, Jarrett’s mom and dad asked my husband and me to take 13-year old Jarrett and his
sister to the state park for the day while they took care of some family matters. It was the first
time they had asked us, and I was so honored and excited. Jarrett could tell under all the
excitement, that I was a little nervous. He looked up at me with a big smile, grabbed my hand
and stated “Aunt Sarah, we got this!” On the way to the park, Jarrett gave me a pep talk to help
change my perspective, as I was worrying about being a failure on our day out. We walked along
the beach and talked. He asked if I worked at a hospital because his mother always addressed
mail to “Dr. Sarah Hawks”. I explained to him that I had a Doctoral Degree in Education and
Leadership with a concentration in Special Education and that I worked in a public high
school. Jarrett stopped looked up at me and stated “Why don’t you work at a University?” I told
him that I tutored at a local college at night. He encouraged me to apply full-time at the college. I
told him that I would try and do my best. (So I did later) After that, he came up with the idea to
play a game of hopscotch. As he worked with his sister to draw the lines in the sand, he
enthusiastically explained the rules of the game to her. He gave her encouragement and support
by building up her confidence that she would win her first game of hopscotch that day.

    On March 31, 2010, Jarrett, his mother and sister surprised me with a visit to celebrate my
new full-time position at the local college that he had encouraged me to apply for! Jarrett put his
arm around me and stated, “Aunt Sarah, I am proud of your accomplishment.” Jarrett’s loving
heart and kindness was gleaming that day. He was excited to see where I worked and meet my
co-workers. As we walked around, Jarrett showed his good character traits as he introduced
himself to them, took time to listen, and allowed my co-workers to share information about their
job at the college.

   In October 2012, my Aunt Hazel and I visited on our way to a conference. That afternoon, we
rode with Jarrett’s mother to pick him up from high school. On his way to the vehicle, you could
hear Jarrett influencing his friend that with practical hard work, a lot of study time, and being
committed to the goal of passing that math class, they would sustain each other through this
difficult math course. It was uplifting to see Jarrett attract the trust and respect of his friend. As
Jarrett greeted us, he introduced us to his friend in his usual delightful and energetic manner.

   I have pictures of Jarrett scattered around my house, from throughout the years. The time-
lapse of his photos makes my house, a home.
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   Jarrett is really a very good person. Since I have known him his whole life, I truly believe
these wrongful actions he is accused of, represent an aberration that he will never repeat or ever
do. He has demonstrated honesty, integrity, and fairness throughout his life in which I have been
directly involved. Jarrett is a loving nephew, son, brother and a conscientious citizen.

   Thank you, Your Honor, for taking these thoughts into consideration as you deliberate on the
appropriate decision at the sentencing hearing.



Respectfully,




Sarah Hawks, Ed.D.
